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UNITED STATES DISTRICT COURT
                                                                                      10/19/20
SOUTHERN DISTRICT OF NEW YORK


  United States of America,


                  –v–                                                           20-cr-84 (AJN)

                                                                                    ORDER
  Ralph Berry,

                          Defendant.



ALISON J. NATHAN, District Judge:

       A status conference in this matter is scheduled for October 27, 2020 at 11:00 a.m.

By October 20, 2020, defense counsel should respond to the following two questions:

           1) If both an in-court and teleconference proceeding are available, do Defendants
              prefer to proceed in-person in Courtroom 906 of the United States District Court
              for the Southern District of New York, Thurgood Marshall U.S. Courthouse at 40
              Foley Square, New York, New York, or at a teleconference proceeding?

           2) If an in-court proceeding is unavailable, do Defendants consent to proceed with a
              teleconference proceeding?

       If Defendants consent to proceed by teleconference, either as a matter of preference or

because an in-court proceeding is unavailable, please complete and submit the written consent

form attached to this Order. Defense counsel may sign on Defendants' behalf if authorized by

Defendant to do so. If the Court is unable to conduct an in-court proceeding at the scheduled

time and Defendants do not consent to proceed by teleconference, the Court may adjourn the

status conference to a later date.


       SO ORDERED.

Dated: October 16, 2020                          __________________________________
       New York, New York                                 ALISON J. NATHAN
                                                        United States District Judge
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
UNITED STATES OF AMERICA
                                                                                WAIVER OF RIGHT TO BE PRESENT AT
                                  -v-                                           CRIMINAL PROCEEDING

                           ,                                                       20-cr-84 (AJN)
                                               Defendant.
-----------------------------------------------------------------X

Check Proceeding that Applies


____       Conference

           I have been charged in an indictment with violations of federal law. I understand that I have a right to be
           present at all conferences concerning this indictment that are held by a judge in the Southern District of
           New York, unless the conference involves only a question of law. I understand that at these conferences
           the judge may, among other things, 1) set a schedule for the case including the date at which the trial will
           be held, and 2) determine whether, under the Speedy Trial Act, certain periods of time should be properly
           excluded in setting the time by which the trial must occur. I have discussed these issues with my attorney
           and wish to give up my right to be present at the conferences. By signing this document, I wish to advise
           the court that I willingly give up my right to be present at the conferences in my case for the period of time
           in which access to the courthouse has been restricted on account of the COVID-19 pandemic. I request that
           my attorney be permitted to represent my interests at the proceedings even though I will not be present.



Date:                  ____________________________
                       Signature of Defendant


                       ____________________________
                       Print Name


I hereby affirm that I am aware of my obligation to discuss with my client the charges contained in the indictment,
my client’s rights to attend and participate in the criminal proceedings encompassed by this waiver, and this waiver
form. I affirm that my client knowingly and voluntarily consents to the proceedings being held in my client’s absence.
I will inform my client of what transpires at the proceedings and provide my client with a copy of the transcript of
the proceedings, if requested.

Date:                  ____________________________
                       Signature of Defense Counsel


                       ____________________________
                       Print Name
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Addendum for a defendant who requires services of an interpreter:

I used the services of an interpreter to discuss these issues with the defendant. The interpreter also translated this
document, in its entirety, to the defendant before the defendant signed it. The interpreter’s name is:
_______________________.



Date:             _________________________
                  Signature of Defense Counsel




Accepted:         ________________________
                  Signature of Judge
                  Date:




                                                          2
